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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10
                                                  )
11    SANTOS CORNELIO R.,                         )    Case No. CV 20-6268-SB-JEM
                                                  )
12                               Plaintiff,       )
                                                  )    JUDGMENT
13                 v.                             )
                                                  )
14    KILOLO KIJAKAZI,                            )
      Acting Commissioner of Social Security,     )
15                                                )
                                 Defendant.       )
16                                                )

17
            In accordance with the Order Accepting Findings and Recommendations of United
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      States Magistrate Judge filed concurrently herewith,
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            IT IS HEREBY ADJUDGED that the decision of the Commissioner of Social Security
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      is AFFIRMED and this action is DISMISSED with prejudice.
21

22                 September 22, 2021
      DATED:
23                                                      STANLEY BLUMENFELD, JR.
                                                      UNITED STATES DISTRICT JUDGE
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